Case 3:17-cv-01539-JLS-WVG Document 17 Filed 09/26/18 PageID.327 Page 1 of 2



 1    JAMES V. FAZIO, III (CSB# 183353)
      jamesfazio@sandiegoiplaw.com
 2    TREVOR Q. CODDINGTON, PH.D. (CSB# 243042)
      trevorcoddington@sandiegoiplaw.com
 3    SAN DIEGO IP LAW GROUP LLP
      12526 High Bluff Drive, Suite 300
 4    San Diego, CA 92130
      Telephone: (858) 792-3446
 5    Facsimile:    (858) 792-3501
 6    Attorneys for Defendants,
      BREA L. JOSEPH and KBZ FX, INC.
 7
 8                        UNITED STATES DISTRICT COURT
 9                      SOUTHERN DISTRICT OF CALIFORNIA
10
11    STRATEGIC OPERATIONS, INC.,            CASE NO. 3:17-CV-1539-JLS-
                                             WVG
12                  Plaintiff,
                                             NOTICE OF MOTION AND
13         vs.                               MOTION TO DISMISS
                                             AMENDED COMPLAINT FOR
14    BREA K. JOSEPH; KASEY                  FAILURE TO STATE A CLAIM
      EROKHIN; KBZ FX; KBZ FX, INC.;         UNDER FED. R. CIV. P. 12(B)(6)
15    and DOES 1 through 10, inclusive,      BY DEFENDANTS BREA L.
                                             JOSEPH AND KBZ FX, INC.
16                  Defendants.
17                                           Date:    November 15, 2018
                                             Time:    1:30 p.m.
18                                           Judge:   Hon. Janis L. Sammartino
                                             Ctrm.:   4D (Schwartz)
19
20
21
22
23
24
25
26
27
 28


                                                             3:17-cv-1539-JLS-WVG
Case 3:17-cv-01539-JLS-WVG Document 17 Filed 09/26/18 PageID.328 Page 2 of 2



 1          PLEASE TAKE NOTICE THAT on November 15, 2018 at 1:30 p.m., or as
 2    soon thereafter as the matter may be heard, before the Honorable Janis L.
 3    Sammartino in Courtroom 4D of the United States District Court for the Southern
 4    District of California, located at 221 West Broadway, San Diego, California 92101,
 5    Defendants Brea Joseph and KBZ FX, Inc. (collectively, “KBZ”) will and hereby
 6    do move to dismiss the amended complaint filed by Strategic Operations, Inc.
 7    (“StOps”) for failure to state a claim under Fed. R. Civ. P. 12(b)(6).
 8          KBZ submits that this motion is suitable for decision without oral argument
 9    and does not request a hearing.
10          The motion is made by this Notice of Motion and Motion, the accompanying
11    memorandum of points and authorities, all pleadings and records on file in this
12    action, and on such other and further matters as the Court may consider.
13    Dated: September 26, 2018         SAN DIEGO IP LAW GROUP LLP
14
15                                      By:/s/James V. Fazio, III
                                                       JAMES V. FAZIO, III
16                                                 TREVOR Q. CODDINGTON
17                                      Attorneys for Defendants,
                                        BREA L. JOSEPH and KBZ FX, INC.
18
19
20
21
22
23
24
25
26
27
 28
                                                1
                                                                      3:17-cv-1539-JLS-WVG
